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 5
     Counsel for Defendant DEPAPE
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 7                            IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN FRANCISCO DIVISION
10
         UNITED STATES OF AMERICA,                        Case No.: CR 22-0426-JSC
11
                         Plaintiff,                       UNOPPOSED REQUEST AND
12
                                                          [PROPOSED] ORDER RE: USE OF
                 v.                                       DIGITAL DEVICE IN CUSTODY
13
         DAVID WAYNE DEPAPE,
14
                         Defendant.
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16
         Defendant David Wayne Depape is currently in custody at San Francisco County Jail. There
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     is voluminous discovery in this case, some of which is in a digital format that can only be
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     efficiently reviewed by the defendant on a computer, tablet or other electronic device.
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         Accordingly, he requests that the Court issue an order permitting him to have a computer,
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     tablet, or other electronic device, including the San Francisco Sheriff Office’s Discovery USB,
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     made available to him in custody. Defense counsel will provide the San Francisco Sheriff’s
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     Office with a tablet for this circumstance.
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         Neither the government nor the San Francisco County Sheriff’s Office opposes this request.
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         Respectfully submitted,
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26   Date: January 27, 2023                                     _______/S___________________
                                                                JODI LINKER
27                                                              Attorney for Mr. Depape
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     ORD. DIGITAL DEVICE IN CUSTODY
     DEPAPE, CR 22-0426-JSC
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 1
                                           [PROPOSED] ORDER
 2
        TO: PAUL M. MIYAMOTO, THE SHERIFF OF SAN FRANCISCO COUNTY, AND TO
 3
        THE SAN FRANCISCO COUNTY SHERIFF’S OFFICE AT SF COUNTY JAIL:
 4       The Court orders that Defendant David Depape be permitted to use a computer, tablet, or
 5   other electronic device, including the San Francisco Sheriff Office’s Discovery USB, while in
 6   custody for the sole purpose of reviewing discovery and legal materials that relate to his
 7   criminal case.
 8       IT IS SO ORDERED.
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10          _______________________                      ____________________________________
            Date                                         JACQUELINE SCOTT CORLEY
11                                                       United States District Judge

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     ORD. DIGITAL DEVICE IN CUSTODY
     DEPAPE, CR 22-0426-JSC

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